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                                   3                                    UNITED STATES DISTRICT COURT

                                   4                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   6     UNITED STATES OF AMERICA,                         CASE NO. 18-cr-00174-YGR-1
                                   7                     Plaintiff,
                                                                                           ORDER GRANTING MOTION TO SUPPRESS
                                   8               vs.                                     EVIDENCE
                                   9     MARTHA JULIA MAFFEI,                              Re: Dkt. No. 21
                                  10                     Defendant.

                                  11           Defendant has been charged with a twenty-seven count indictment related to an alleged
                                  12   scheme to defraud, including charges of conspiracy to commit mail and wire fraud in violation of
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 United States District Court




                                  13   18 U.S.C. § 1349, mail fraud in violation of 18 U.S.C. § 1341, wire fraud in violation of 18 U.S.C.
                                  14   § 1343, laundering in monetary instruments in violation of 18 U.S.C. § 1956, and engaging in
                                  15   monetary transactions in property derived from specified unlawful activity in violation of 18
                                  16   U.S.C. § 1957.1 (Dkt. No. 9 (“Indictment”).) The Court considers defendant’s motion to suppress
                                  17   her statement of the passcode to her cellphone (described as evidence item SIRGM2 and seized by
                                  18   law enforcement agents on April 12, 2018), the resulting search of that device, and all evidence
                                  19   subsequently derived from that search. (Dkt. No. 21 (“Motion”).)
                                  20           Having carefully considered the motion and the papers submitted, as well as oral argument
                                  21   from counsel on February 28, 2019, and for the reasons set forth more fully below, the Court
                                  22   GRANTS defendant’s motion to suppress and excludes from evidence defendant’s statement
                                  23   regarding her cellphone passcode, the resulting search of her cellphone, and all evidence
                                  24   subsequently derived from that search, except for use to impeach defendant’s testimony, should
                                  25   she chose to testify at trial.
                                  26

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                                                According to the indictment, defendant’s conduct also subjects her to criminal forfeiture
                                  28   upon conviction of violation of 18 U.S.C. §§ 1956, 1957 pursuant to 18 U.S.C. §§ 981(a)(1)(C),
                                       982(a) and 28 U.S.C. § 246(c). (Indictment ¶¶ 32-35.)
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                                   1      I.      BACKGROUND

                                   2           At some point prior to November 2017, the Department of Labor, Office of the Inspector

                                   3   General (“OIG”) opened an investigation into defendant Maffei’s involvement in an alleged

                                   4   scheme to defraud timeshare owners by posing as either timeshare brokers representing potential

                                   5   buyers or Special Agents of the OIG or the Treasury Department and encouraging victims to make

                                   6   various payments via check or money wire (the “Scheme”). (Indictment ¶¶ 10-12.)

                                   7           During the course of the OIG’s investigation into the Scheme, on November 5, 2017, San

                                   8   Mateo Police Department (“SMPD”) conducted an enforcement stop on a Toyota Camry due to a

                                   9   broken tail light and the driver’s failure to yield to pedestrians in a crosswalk. (See SMPD Police

                                  10   Report re: Traffic Stop (“SMPD Report”) at MJM-543.) Defendant, Martha Maffei, was the only

                                  11   passenger in the car, and her husband, Michael Maffei, was the driver. (Id. at MJM-544.) After

                                  12   determining that Michael Maffei’s license had expired, the officers conducted an “inventory
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                                  13   search” of the vehicle. (Id.) The search recovered Oxycodone pills, marijuana, and a purse

                                  14   containing approximately $11,000 in cash. (Id. at MJM-545.) The officers also recovered two

                                  15   Apple iPhone devices from the car. (Id.) SMPD arrested defendant, along with her husband, for

                                  16   possession of narcotics for sale, transportation/sales of narcotics, and conspiracy to commit a

                                  17   crime. (SMPD Report at MJM-543.)

                                  18           Following the arrest on November 5, 2017, SMPD officers went with defendant and her

                                  19   husband to their home to conduct a welfare check regarding the couple’s two children. (Id. at

                                  20   MJM-546.) During the visit, the officers observed “(in plain view) indicia to additional narcotic

                                  21   and federal crimes.” (Id.) That evening, SMPD officers applied for a search warrant for the

                                  22   Maffei residence, which a judge of the San Mateo Superior Court signed the next day, November

                                  23   6, 2017. (See San Mateo Search Warrant (“SM Warrant”) at MJM-557.) The warrant authorized

                                  24   the search for and seizure of various narcotics and paraphernalia related to drug sales as well as

                                  25   cellphones and other digital devices. (Id. at MJM-560.) The warrant also addressed the two

                                  26   iPhones seized during the November 5 traffic stop. (Id. at MJM-561.) Specifically, the warrant

                                  27   provided for a forensic examination of the cellphones, as well as a physical or “finger search” of

                                  28   the phones, “includ[ing] the owner providing officers with the device’s passcodes, or placing
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                                   1   his/her fingerprint to the device’s screen in order to unlock the [phone].” (Id. at MJM-562.)

                                   2          Defendant initially refused to provide the passcode for her locked cellphone. (See

                                   3   Affidavit in Support of Federal Criminal Complaint (“Aff. in Sup. Fed. Compl.”) ¶ 65.) On

                                   4   November 6, 2017, after her release, defendant provided two possible passcodes for her cellphone,

                                   5   but officers did not immediately attempt to unlock the phone. (Id.) When a forensic examiner for

                                   6   SMPD examined the phone on November 15, 2017, she reported that the iPhone was “already in

                                   7   set up mode[,]” which indicated that someone had “wiped” the device. (See SMPD Supplemental

                                   8   Report (“SMPD Suppl. Report”) at MJM-5325.) The examiner then used Cellebrite to extract the

                                   9   data stored on the phone’s sim card. (Id.)

                                  10          Shortly after defendant’s arrest, SMPD referred her case to federal authorities, who,

                                  11   between December 12, 2017 and February 15, 2018, sought and obtained a series of federal search

                                  12   warrants related to the OIG’s investigation into the Scheme. Special Agent (“SA”) Chris Collins
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                                  13   of the OIG drafted each of the applications.

                                  14          First, on December 12, 2017, Magistrate Judge Laporte signed search warrant number 17-

                                  15   71650, which authorized a search of defendant’s cellphone—the same iPhone that officers seized

                                  16   during the traffic stop and the forensic officer subsequently examined. (See N.D. Cal. Search

                                  17   Warrant No. 17-71650 (“CAND Warrant -650”) at MJM-5389.) Once Judge Laporte issued the

                                  18   warrant, OIG agents obtained custody of the phone from SMPD and “discovered that all of the

                                  19   contents on [defendant’s] iPhone appeared to have been remotely erased, and no information was

                                  20   able to be recovered.” (Aff. in Sup. Fed. Compl. ¶¶ 65-66.) Judge Laporte also signed a second

                                  21   warrant on December 12, 2017, numbered 17-71651, which authorized the search of Google email

                                  22   content for Google accounts allegedly associated with the Scheme. (See N.D. Cal. Search Warrant

                                  23   No. 17-71651 (“CAND Warrant -651”) at MJM-5422.) The warrant provided for the search of

                                  24   four accounts, including marthamaffei@gmail.com. (Id. at MJM-5423.) Google provided the

                                  25   search warrant returns on January 4, 2018. (Aff. in Sup. Fed. Compl. ¶ 8.)

                                  26          Judge Laporte signed a third search warrant, number 17-71688, on December 29, 2017 for

                                  27   the four digital devices—two Apple MacBooks and two iPads—that SMPD seized from

                                  28   defendant’s home on November 6, 2017. (See N.D. Cal. Search Warrant No. 17-71688 (“CAND
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                                   1   Warrant -688”) at MJM-5355.) Three of these devices were encrypted and, because the federal

                                   2   investigators did not have the passcodes, they did not analyze them. (Aff. in Sup. Fed. Compl. ¶

                                   3   7.) The agents were able to access the fourth device but determined the contents were not

                                   4   responsive to the warrant. (Id.)

                                   5          Finally, on February 15, 2018, Magistrate Judge Westmore signed search warrant number

                                   6   18-70191, which authorized a search by Facebook for information associated with defendant’s

                                   7   account as well as another Facebook account of interest to investigators. (See N.D. Cal. Search

                                   8   Warrant No. 18-70191 (“CAND Warrant -191”) at MJM-5328.)

                                   9          On April 9, 2018, SA Collins filed an affidavit in support of a search warrant, arrest

                                  10   warrant, and criminal complaint. (Aff. in Sup. Fed. Compl. ¶ 2.) The application sought

                                  11   authorization for a search of defendant’s apartment, car, and “any digital devices belonging to

                                  12   [defendant], such as a computer and mobile phones, which are recovered pursuant to the searches
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                                  13   [sic] and/or arrest of [defendant] (“SUBJECT DEVICES”).” (Id. ¶ 3.)

                                  14          Notably, the search warrant application explicitly requested authority to “compel

                                  15   [defendant] to provide a biometric key (facial recognition or thumbprint) to unlock any SUBJECT

                                  16   DEVICE recovered during the execution of the search warrants.” (Id. ¶ 90; see also id. ¶ 3 (“The

                                  17   affidavit also seeks to require [defendant] to provide a fingerprint or facial recognition to unlock

                                  18   any SUBJECT DEVICES recovered during the execution of the warrants.”) Although SA Collins

                                  19   mentioned elsewhere in the warrant application that “Apple iPhones require either a multi-digit

                                  20   passcode or a biometric key” and “[u]pon successful opening of the phone, law enforcement will

                                  21   adjust the passcode . . . [,]” the application itself sought only the authority to compel defendant to

                                  22   provide a biometric key and did not request permission or authority from the magistrate to compel

                                  23   defendant to provide her passcode, whether through oral statements or other means. (Id. ¶¶ 89,

                                  24   90.) Later that day, Judge Laporte signed the search and arrest warrants as well as the criminal

                                  25   complaint. (Id. at MJM-6038.)

                                  26          OIG agents executed the federal search and arrest warrants on April 12, 2018 with the

                                  27   assistance of SMPD. (See OIG Memo to File by Ferrer (“Ferrer OIG Memo”) at MJM-843.)

                                  28   When OIG agents and SMPD officers arrived at defendant’s home to execute the warrants, they
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                                   1   quickly escorted her out of her residence, handcuffed and searched her, and reportedly advised her

                                   2   of her Miranda rights. (Id.) Shortly thereafter, SA Collins and SA Ana Ptaszek transported

                                   3   defendant to the federal courthouse in San Francisco. (Id. at MJM-844.)

                                   4            During the drive to the courthouse, SA Collins told defendant that “he was not going to ask

                                   5   her any questions,” and that “he hoped she would cooperate in the investigation” and “explained

                                   6   that, in general, when people cooperate it helps their situation.” (See OIG Memo to File by

                                   7   Collins (“Collins OIG Memo”) at MJM 849.) Defendant did not respond other than to request to

                                   8   contact Paula Canny, the private attorney who had represented defendant in her state case. (Id.)

                                   9   SA Collins attempted to call Ms. Canny from his cell phone and left her a voicemail indicating

                                  10   that defendant “had been arrested on a federal warrant for money laundering.” (Id.) After SA

                                  11   Collins arrived at the federal courthouse and transferred defendant to the custody of the U.S.

                                  12   Marshals, Ms. Canny returned his call and informed him that she could not represent defendant at
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                                  13   her initial appearance due to a recent surgery. (Id.)

                                  14            Approximately four hours after the agents first executed the federal search and arrest

                                  15   warrants on the morning of April 12, defendant made her initial appearance, during which the

                                  16   court provisionally appointed Assistant Federal Public Defender Jodi Linker to represent her. (See

                                  17   Dkt. No. 3.) Following the appearance hearing, the court remanded defendant into custody. (Id.)

                                  18   An hour later, SA Collins and SA Ptaszek visited defendant in the U.S. Marshals holding cell on

                                  19   the twentieth floor of the San Francisco federal courthouse. (Collins OIG Memo at MJM-849.)

                                  20   During this encounter, SA Collins “informed [defendant] that he was there to get the passcodes for

                                  21   the phones.” Defendant then provided the passcode for evidence item SIRGM2, an Apple iPhone

                                  22   device. (Id. at MJM-850.) “SA Collins verified that the passcode worked.” (Id.) SA Collins also

                                  23   showed defendant photos of two other devices, also Apple iPhones found in defendant’s residence,

                                  24   and defendant replied that cellphones belong to her son and that she did not know the passcodes.

                                  25   (Id.) SA Collins then “thanked [defendant] for her cooperation.” (Id.)

                                  26      II.      ANALYSIS

                                  27
                                                Defendant brings the instant motion on the grounds that in obtaining her cellphone
                                  28
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                                   1   passcode, law enforcement violated her Fourth, Fifth, and Sixth Amendment rights. (See Motion.)

                                   2   In its opposition, the government represents that although it does not intend to introduce the

                                   3   evidence at issue in this motion in its case-in-chief, it does reserve its right to use the evidence to

                                   4   impeach defendant’s testimony at trial. (Dkt. No. 26 (“Opp.”) at 1.) Specifically, the government

                                   5   argues that because defendant provided her passcode voluntarily, the government may use the

                                   6   statement and the evidence obtained by the resulting search to impeach defendant’s testimony,

                                   7   even if law enforcement obtained that statement in violation of defendant’s Miranda rights. (Id. at

                                   8   3-4.) The government also asserts that because it does not intend to use the evidence in its case-

                                   9   in-chief, defendant’s motion to suppress is moot. (See id.) The government does not further

                                  10   address defendant’s Fourth, Fifth, and Sixth Amendment arguments. (See id.)

                                  11          In light of its opposition, during oral argument on February 28, 2019, the Court asked the

                                  12   government whether it conceded that law enforcement’s conduct violated defendant’s rights and
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                                  13   that it could not use the evidence affirmatively. The government would not so concede and

                                  14   maintained, for the first time, that even if law enforcement did violate defendant’s rights, the

                                  15   inevitable discovery rule would apply and so the Court should not suppress the evidence.

                                  16   Accordingly, the Court evaluates each of defendant’s arguments for suppression in turn.

                                  17              A. The Fourth Amendment

                                  18          The Fourth Amendment protects “[t]he right of people to be secure in their persons,

                                  19   houses, papers, and effects, against unreasonable searches and seizures.” U.S. Const. amend. IV.

                                  20   It also generally requires law enforcement officers to obtain a warrant before they may search the

                                  21   digital data on a cellphone, even when officers seize that cellphone incident to a lawful arrest. See

                                  22   Riley v. California, 134 S. Ct. 2473, 2493 (2014). Here, the government obtained a search warrant

                                  23   authorizing the search and seizure of digital devices, including the cellphone at issue, prior to

                                  24   confiscating the cellphone, requesting the passcode, and searching the phone’s contents. (See Aff.

                                  25   in Sup. Fed. Compl. ¶¶ 78-90.) The warrant application specifically requested the “authority to

                                  26   compel [defendant] to provide a biometric key (facial recognition or thumbprint) to unlock” the

                                  27   cellphone at issue. (Id. ¶ 90 (emphasis supplied).) As defendant does not challenge the validity of

                                  28   the warrant for lack of probable cause or insufficient particularity, the Court turns to whether SA
                                                                                          6
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                                   1   Collins exceeded the scope of the warrant when he obtained from defendant the multidigit

                                   2   passcode to her cellphone, rather than a biometric key.

                                   3          If the “scope of [a] search exceeds that permitted by the terms of a validly issued warrant

                                   4   . . . [the search and any] subsequent seizure [are] unconstitutional.” Horton v. California, 496

                                   5   U.S. 128, 140 (1990). In deciding whether a search exceeded its lawful scope, a court may

                                   6   consider “both the purpose disclosed in the application for a warrant’s issuance and the manner of

                                   7   its execution.” United States v. Rettig, 589 F.2d 418, 423 (9th Cir. 1978). Whether a search

                                   8   exceeds the scope of the relevant search warrant requires an objective inquiry that looks at the

                                   9   circumstances surrounding the issuance of the warrant, the contents of the search warrant, and the

                                  10   circumstances of the search. United States v. Hitchcock, 286 F.3d 1064, 1071 (9th Cir. 2002),

                                  11   superseded on other grounds by United States v. Hitchcock, 298 F.3d 1021 (9th Cir. 2002).

                                  12          The text of the application at issue here requested, and therefore the signed warrant
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                                  13   provided, only the “authority to compel [defendant] to provide a biometric key (facial recognition

                                  14   or thumbprint) to unlock any” Subject Device “in order to open the phone in a law enforcement

                                  15   controlled setting.” (Aff. in Sup. Fed. Compl. ¶ 90.) Notably, elsewhere in the search warrant

                                  16   application, the agent explained that “Apple iPhones require either a multi-digit passcode or a

                                  17   biometric key” and that “[u]pon successful opening of the phone, law enforcement will adjust the

                                  18   passcode to allow for successful opening of the phone out of the presence of [defendant.]” (Id. ¶¶

                                  19   89, 90.) Yet, the agent only sought the authority to compel defendant to provide a biometric key

                                  20   and did not request permission or authority to compel defendant to provide her multidigit

                                  21   passcode. (Id. ¶¶ 3, 90.)

                                  22          Although neither the Supreme Court nor the Ninth Circuit have spoken directly on the

                                  23   relationship between and the interchangeably of a multidigit passcode and a biometric key in

                                  24   decrypting a device seized pursuant to a warrant, the Court does not consider the two perfect

                                  25   substitutes in evaluating the scope of the warrant. From a practical standpoint, a passcode and a

                                  26   biometric key serve different functions. Apple iPhone software will often not accept the biometric

                                  27   key and will require the multidigit passcode to unlock the device—for example, when one restarts

                                  28   the device or engages in too many failed attempts to unlock the phone via the biometric key, or if
                                                                                        7
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                                   1   more than 48 hours have passed since the device was last unlocked using a biometric key. About

                                   2   Touch ID Advanced Security Technology, (Sept. 11, 2017) https://support.apple.com/en-

                                   3   us/HT204587.2 More importantly in this context, iPhone software requires the multidigit passcode

                                   4   in order to change or remove the encryption on the device. Id. The government seems to have

                                   5   considered this issue and still did not request the authority to compel defendant’s passcode. (See

                                   6   Aff. in Sup. Fed. Compl. ¶ 90.) Thus, the Court finds that obtaining defendant’s passcode, rather

                                   7   than a biometric key, constituted materially different conduct for the purposes of determining

                                   8   whether law enforcement exceeded the scope of the warrant.

                                   9           Additionally, in light of recent developments in this area of law in this District, it seems

                                  10   possible that a magistrate would have denied an application for a warrant authorizing officers to

                                  11   compel defendant’s cellphone passcode as violating the Fifth Amendment. See United States v.

                                  12   Spencer, No. 17-cv-00259-CRB-1, 2018 WL 1964588, at *2 (N.D. Cal. Apr. 26, 2018) (“For
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                                  13   instance, the government could not compel Spencer to state the [cellphone] password itself,

                                  14   whether orally or in writing.”) (citing Doe v. United States, 487 U.S. 201, 210 n. 9 (1988))

                                  15   (alteration supplied); see also supra III.B.1. Moreover, SA Collins, the author of the warrant

                                  16   application, seems to have understood the multidigit passcode and biometric key as distinct

                                  17   methods of opening the device and therefore could have drafted a warrant application requesting

                                  18   authority to compel a multidigit passcode, and yet did not. (See id. ¶ 89 (“I know Apple iPhones

                                  19   require either a multi-digit passcode or a biometric key . . . in order to open the phone.”).)

                                  20           For these reasons, the Court finds that by visiting defendant in the U.S. Marshals facility

                                  21   and “inform[ing] [her] that he was there to get the passcodes for the phones” SA Collins exceeded

                                  22   the scope of the warrant in violation of the Fourth Amendment.

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                                                 See also Search of a Residence in Oakland, California, Case No. 19-CV-70053-KAW,
                                  27   2019 WL 176937 (N.D. Cal. Jan. 10, 2019), at *3 (noting that “there are times when the device
                                       will not accept the biometric feature and require the user to type in the passcode to unlock the
                                  28
                                       device”).
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                                   1              B. The Fifth Amendment

                                   2          Defendant asserts two grounds rooted in the Fifth Amendment for suppressing her

                                   3   statement regarding the passcode to her cellphone, the resulting search of her phone, and all

                                   4   evidence subsequently derived from that search, namely that SA Collins: (1) compelled the

                                   5   statement in violation of the Fifth Amendment; and (2) violated defendant’s Miranda rights by

                                   6   attempting to obtain her passcode after she had invoked her right to counsel.

                                   7                  1. Compelled Testimony in Violation of the Fifth Amendment

                                   8          The Fifth Amendment provides that “no person . . . shall be compelled in any criminal case

                                   9   to be a witness against himself.” U.S. Const. amend. V. This privilege extends not only “to

                                  10   answers that would in themselves support a conviction . . . but likewise embraces those which

                                  11   would furnish a link in the chain of evidence needed to prosecute the claimant.” Hoffman v.

                                  12   United States, 341 U.S. 479, 486 (1951). To prove a violation of this privilege, an individual must
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                                  13   establish (a) self-incrimination (b) by way of testimonial communication and (c) compulsion.

                                  14   United States v. Hubbell, 530 U.S. 27, 34-38 (2000); Hiibel v. Sixth Jud. Dist. Ct. of Nev.,

                                  15   Humboldt Cnty., 542 U.S. 177, 189 (2004). The Court discusses each.

                                  16                     a. First Prong: Self-Incrimination

                                  17          The Fifth Amendment “protects against any disclosures which the witness reasonably

                                  18   believes could be used in a criminal prosecution or could lead to other evidence that might be so

                                  19   used.” Kastigar v. United States, 406 U.S. 441, 445 (1972); see also Doe v. United States, 487

                                  20   U.S. 201, 213 (1988) (noting that the Fifth Amendment is intended to “spare the accused from

                                  21   having to reveal, directly or indirectly, his knowledge of the facts relating him to the offense”).

                                  22   Providing information that could lead to other evidence that might be used in a criminal

                                  23   prosecution similarly qualifies as “self-incriminating.” See Fisher v. United States, 425 U.S. 391,

                                  24   410 (1976). Defendant’s provision of the passcode to her cell phone so qualifies as information on

                                  25   the phone may be incriminating. See id.; Spencer, 2018 WL 1964588, at *2 (finding that the act

                                  26   of requiring a defendant to aid in decryption of electronic devices “would potentially be

                                  27   incriminating because having that ability makes it more likely that [the defendant] encrypted the

                                  28   devices, which in turn makes it more likely that he himself put the sought-after material on the
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                                   1   devices”).3

                                   2                     b. Second Prong: Testimonial Communication

                                   3          The “vast majority of verbal statements . . . will be testimonial” because “[t]here are very

                                   4   few instances in which a verbal statement, either oral or written, will not convey information or

                                   5   assert facts. Whenever a suspect is asked for a response requiring him to communicate an express

                                   6   or implied assertion of fact or belief, the suspect confronts the ‘trilemma’ of truth, falsity, or

                                   7   silence, and hence the response (whether based on truth or falsity) contains a testimonial

                                   8   component.” Pennsylvania v. Muniz, 496 U.S. 582, 597 (1990) (citing Doe, 487 U.S. at 213).

                                   9   Additionally, the mere “act of producing evidence . . . has communicative aspects of its own” that

                                  10   may qualify as testimonial, Fisher, 425 U.S. at 410, especially where such an act requires an

                                  11   individual to call upon the contents of his or her own mind. Hubbell, 530 U.S. at 43 (citing Curcio

                                  12   v. United States, 354 U.S. 118, 128 (1957)); see also Doe, 487 U.S., at 210, n. 9 (stating, in dicta,
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                                  13   that unlike forcing someone to surrender “a key to a strongbox,” compelling someone to reveal the

                                  14   combination to a wall safe constitutes a testimonial communication within the meaning of the

                                  15   Fifth Amendment).

                                  16          Although neither the Supreme Court nor the Ninth Circuit have addressed whether aiding

                                  17   in decryption of an electronic device, through provision of a biometric key, alphanumeric

                                  18   passcode, or otherwise, qualifies as a testimonial communication, provision of a passcode bears a

                                  19   striking similarity to “telling an inquisitor the combination to a wall safe.” See Hubbell, 530 U.S.

                                  20   at 43 (citing Doe, 487 U.S. at 210, n. 9). Of the courts of appeal, only the Eleventh Circuit has

                                  21   addressed the decryption issue directly. See In re Grand Jury Subpoena Duces Tecum Dated

                                  22   March 25, 2011, 670 F.3d 1335, 1345 (11th Cir. 2012). Therein, the court relied on the Supreme

                                  23   Court’s decisions in Fisher, Doe, and Hubbell to determine that “the decryption and production of

                                  24

                                  25          3
                                                 See also Search of a Residence in Oakland, California, 2019 WL 176937, at *3; In re
                                  26   Application for a Search Warrant, 236 F.Supp.3d 1066, 1073 (N.D. Ill. 2017) (observing that by
                                       providing a biometric passcode to a cellphone, “a suspect is testifying that he or she has accessed
                                  27   the phone before, at a minimum, to set up the fingerprint password capabilities, and that he or she
                                       currently has some level of control over or relatively significant connection to the phone and its
                                  28
                                       contents”).
                                                                                         10
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                                   1   the contents of

                                   2   . . . hard drives is testimonial in character.” Id. at 1345 (“Requiring Doe to use a decryption

                                   3   password is most certainly more akin to requiring the production of a combination because both

                                   4   demand the use of the contents of the mind, and the production is accompanied by the implied

                                   5   factual statements [regarding the defendant’s role in placing contents on and encrypting the hard

                                   6   drive] noted above that could prove to be incriminatory.”) Defendant’s provision of her cellphone

                                   7   passcode similarly demands the use of the contents of her mind and implies factual statements,

                                   8   including which of the three seized cellphones belonged to her and that she had control over or a

                                   9   relatively significant connection to the cellphone identified as evidence item SIRGM2. Therefore,

                                  10   defendant’s statement constitutes a testimonial communication. 4 5 See id.; see also In re

                                  11   Application for a Search Warrant, 236 F.Supp.3d at 1073 (determining that provision of a

                                  12   fingerprint key to access an iPhone via Apple’s biometric security system qualifies as testimonial
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                                  13

                                  14          4
                                                 Additionally, the privacy concerns related to the immense storage capacity of the modern
                                       cellphone articulated by the Supreme Court in Riley weigh in favor of this finding. See Riley, 573
                                  15   U.S. at 393-95 (“First, a cell phone collects in one place many distinct types of information—an
                                  16   address, a note, a prescription, a bank statement, a video—that reveal much more in combination
                                       than any isolated record. Second, a cell phone’s capacity allows even just one type of information
                                  17   to convey far more than previously possible. The sum of an individual’s private life can be
                                       reconstructed through a thousand photographs labeled with dates, locations, and descriptions; . . . .
                                  18   Third, the data on a phone can date back to the purchase of the phone, or even earlier. A person
                                       might carry in his pocket a slip of paper reminding him to call Mr. Jones; he would not carry a
                                  19   record of all his communications with Mr. Jones for the past several months, as would routinely be
                                  20   kept on a phone. Finally, there is an element of pervasiveness that characterizes cell phones but
                                       not physical records.”).
                                  21
                                              5
                                                 Although the government does not raise the issue, the Court notes that the foregone
                                  22   conclusion doctrine does not apply as the government has not alleged, and the facts do not
                                       suggest, that the government already knew that defendant had the passcode to the cellphone such
                                  23   that her provision thereof “add[ed] little or nothing to the sum total of the Government’s
                                  24   information[.]” In re Grand Jury Subpoena, Dated April 18, 2003, 383 F.3d 905, 910 (9th Cir.
                                       2004); c.f. Spencer, 2018 WL 1964588, at * 3 (holding that a defendant’s ability to decrypt hard
                                  25   drives was a foregone conclusion where device was found in defendant’s exclusive residence,
                                       defendant conceded that he owned the other two devices found therein, a phone and a laptop, and
                                  26   had already provided the login passwords for both, and defendant conceded that he purchase and
                                       encrypted an external hard drive matching the description of the one found by the government). In
                                  27   fact, SA Collins presented defendant with two other iPhones as well, for which she did not have
                                  28   the passcodes. (Collins OIG Memo at MJM-850.)

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                                   1   because it constitutes “producing the contents on the phone” and explaining that “[w]ith a touch of

                                   2   the finger, a suspect is testifying that he or she has accessed the phone before, at a minimum, to set

                                   3   up the fingerprint password capabilities, and that he or she currently has some level of control over

                                   4   or relatively significant connection to the phone and its contents”); c.f. Matter of Search of

                                   5   [Redacted] Washington, District of Columbia, 317 F. Supp.3d 523, 538 (D.D.C. 2018) (finding

                                   6   that because the collection process for a biometric feature “requires no . . . cognitive exertion by

                                   7   the [s]ubject” and “will not require the [s]ubject to make any use of the contents of his mind[,]”

                                   8   compelled use of a biometric feature to decrypt a device does not constitute a testimonial

                                   9   communication).

                                  10                     c. Third Prong: Compulsion

                                  11          In order to determine whether testimony has been “compelled,” courts look to “whether,

                                  12   considering the totality of the circumstances, the free will of the witness was overborne.” See
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                                  13   United States v. Anderson, 79 F.3d 1522, 1526 (9th Cir. 1996) (quoting United States v.

                                  14   Washington, 431 U.S. 181, 188 (1977)). Said differently, the issue is whether a defendant

                                  15   voluntarily provided the information. Generally, the Court considers whether a statement is

                                  16   voluntary in the context of the coerciveness of an interrogation.

                                  17          Defendant has not alleged, nor do the facts suggest, that her free will was “overborne” by

                                  18   the custodial context in which SA Collins obtained her passcode. Prior to SA Collins’ inquiry

                                  19   regarding the passcode, OIG agents advised defendant of her Miranda rights, including her right

                                  20   to remain silent. (See Ferrer OIG Memo at MJM-843; see also Motion at 11.) The custodial

                                  21   setting in which SA Collins approached defendant for her passcode does not, alone, rise to the

                                  22   level of “threatening to sanction the person unless the constitutional privilege is surrendered[.]”

                                  23   Anderson, 79 F.3d at 1527; c.f. United States v. Sanchez, 334 F.Supp.3d 1284, 1297 (N.D. Ga.

                                  24   2018), appeal docketed, No. 18-15289 (11th Cir. December 24, 2018) (finding compulsion and

                                  25   therefore violation of the Fifth Amendment where the defendant’s probation officer told him that

                                  26   his refusal to provide the passcodes to his iPhones could result in his arrest for a parole violation);

                                  27   see also Columbe v. Connecticut, 367 U.S. 568, 579 (1961) (“Often the place of questioning will

                                  28   have to be a police interrogation room . . . .”). Additionally, although SA Collins’ statement on
                                                                                         12
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                                   1   the way to the courthouse that “he hoped [defendant] would cooperate in the investigation” and

                                   2   explanation that “in general when people cooperate it helps their situation” (Collins OIG Memo at

                                   3   MJM-849) might suggest a slight implication that defendant would receive something in return for

                                   4   cooperating, such appeals are not objectionable if the officer did not promise anything specific.

                                   5   See Fare v. Michael C., 442 U.S. 707, 727 (1979). Moreover, Collins “emphasized that he cannot

                                   6   make any promises or guarantees[.]” (Collins OIG Memo at MJM-849.)

                                   7             Accordingly, based on its three-prong analysis, the Court finds defendant’s response was

                                   8   not compelled in violation the Fifth Amendment. See United States v. Swacker, 628 F.2d 1250,

                                   9   1253 (9th Cir. 1980) (citing Washington, 431 U.S. at 189) (holding that where defendant was

                                  10   advised of his right to remain silent prior to grand jury testimony, such testimony, although

                                  11   conducted pursuant to subpoena, was not compelled within the meaning of the Fifth Amendment).

                                  12   Thus, the Court will not suppress defendant’s response and the evidence resulting from the
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                                  13   subsequent search on that ground.

                                  14                    2. Testimony in Violation of Miranda

                                  15             Pursuant to Miranda v. Arizona, because of the inherently coercive nature of custodial

                                  16   interrogations, a person must be advised of his or her constitutional rights – including the right to

                                  17   an attorney and the right to remain silent – prior to questioning. 384 U.S. 436, 444 (1966). “As

                                  18   noted above, the Fifth Amendment prohibits use by the prosecution in its case in chief only of

                                  19   compelled testimony.” Oregon v. Elstad, 470 U.S. 298, 307 (1985). However, “[t]he Miranda

                                  20   exclusionary rule . . . serves the Fifth Amendment and sweeps more broadly than the Fifth

                                  21   Amendment itself. It may be triggered even in the absence of a Fifth Amendment Violation.” Id.

                                  22   at 306.

                                  23             Miranda’s protections apply when the government subjects an individual in custody to an

                                  24   interrogation. United States v. Kim, 292 F.3d 969, 973 (9th Cir. 2002). It is undisputed that

                                  25   defendant was in custody for the purposes of Miranda at the time that she provided the passcode

                                  26   to her cellphone. Early in the morning on April 12, 2018, officers arrested, handcuffed, and

                                  27   searched defendant and transported her to the federal courthouse in a law enforcement vehicle.

                                  28   (See Ferrer OIG Memo at MJM-0843.) From the time of her arrest at approximately 7:00 a.m.
                                                                                         13
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                                   1   until SA Collins approached defendant to obtain the passcodes to the phones found in defendant’s

                                   2   residence around 11:40 a.m., defendant was subject to the continuous control of state officers,

                                   3   federal agents, and the U.S. Marshals. (Id.)

                                   4          It is also undisputed that SA Collins’ statement “inform[ing] [defendant] that he was there

                                   5   to get the passcodes for the phones” constitutes an interrogation for the purposes of Miranda. See

                                   6   Rhode Island v. Innis, 446 U.S. 291, 301 (1980) (holding that for the purposes of Miranda, an

                                   7   interrogation refers not only to “express questioning” but also to its functional equivalent, which is

                                   8   “any words or actions on the part of the police (other than those normally attendant to arrest and

                                   9   custody) that the police should know are reasonably likely to elicit an incriminating response from

                                  10   the subject”). Accordingly, law enforcement officers were required to provide Miranda warnings

                                  11   prior to Collins’ interrogation of defendant. The record reflects that officers informed defendant

                                  12   of her Miranda rights, including her right to counsel, at the time of her arrest. (See Ferrer OIG
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                                  13   Memo at MJM-0843); see also Motion at 11.)

                                  14          “The right to counsel recognized in Miranda is sufficiently important to suspects in

                                  15   criminal investigations . . . that it requires the special protection of the knowing and intelligent

                                  16   waiver standard.” Davis v. United States, 512 U.S. 452, 458 (1994) (internal quotations and

                                  17   citations omitted). “If a suspect effectively waives his right to counsel after receiving the Miranda

                                  18   warnings, law enforcement officers are free to question him. But if a suspect requests counsel at

                                  19   any time during the interview, he is not subject to further questioning until a lawyer has been

                                  20   made available or the suspect himself reinitiates conversation.” Id. (internal citations omitted). In

                                  21   order to invoke the right to an attorney, a suspect must unambiguously assert his or her right to

                                  22   counsel. Id. at 459 (holding that suspects statement “Maybe I should talk to a lawyer” was not an

                                  23   unambiguous request for counsel). Once a suspect has so invoked, he or she cannot be questioned

                                  24   regarding any offense unless an attorney is actually present. Minnick v. Mississippi, 498 U.S. 146,

                                  25   151 (1990).

                                  26          As noted above, after the officers informed defendant of her Miranda rights, she

                                  27   “requested to contact her attorney, Paula Canny.” (Collins OIG Memo at MJM-849.) Such a

                                  28   request constitutes unequivocal invocation of her right to counsel. See Sessoms v. Grounds, 776
                                                                                          14
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                                   1   F.3d 615, 626 (9th Cir. 2015) (finding that where suspect “was deferentially asking whether he

                                   2   could have a lawyer” he unequivocally requested counsel) (citing United States v. Lee, 413 F.3d

                                   3   622, 625 (7th Cir. 2005) (recognizing defendant’s statement “[c]an I have a lawyer?” as an

                                   4   unequivocal request for counsel); United States v. Hunter, 708 F.3d 938, 948 (7th Cir. 2013)

                                   5   (holding that “[c]an you call my attorney?” was an unequivocal request for counsel)).

                                   6          For the reasons stated herein, SA Collins’ statement to defendant that “he was there to get

                                   7   the passcodes for the phones[,]” after she had unequivocally invoked her right to counsel, violated

                                   8   defendant’s Miranda rights and thus, her provision of her passcode and any evidence subsequently

                                   9   derived is subject to suppression. However, “the Miranda presumption, though irrebuttable for

                                  10   the purposes of the prosecution’s case in chief, does not require that the statements and their fruits

                                  11   be discarded as inherently tainted. Despite the fact that patently voluntary statements taken in

                                  12   violation of Miranda must be excluded from the prosecution’s case, the presumption of coercion
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                                  13   does not bar their use for impeachment purposes.” Oregon, 470 U.S. at 298; see also United

                                  14   States v. Gomez, 725 F.3d 1121, 1126 (9th Cir. 2013).

                                  15          In determining whether an individual made a statement voluntarily, despite violations of

                                  16   Miranda, “the finder of fact must examine the surrounding circumstances and the entire course of

                                  17   police conduct with respect to the suspect in evaluating the voluntariness of his [or her]

                                  18   statements. The fact that a suspect chooses to speak after being informed of his [or her] right is, of

                                  19   course, highly probative.” Oregon, 470 U.S. at 318. “The due process voluntariness test takes

                                  20   into account the totality of the circumstances to examine ‘whether a defendant’s will was

                                  21   overborne by the circumstances surrounding’” the statement. United States v. Gamez, 301 F.3d

                                  22   1138, 1144 (9th Cir. 2002) (quoting Dickerson v. United States, 530 U.S. 428, 434 (2000)).

                                  23   “Thus, the prosecution must prove by at least a preponderance of the evidence that the confession

                                  24   was voluntary.” Lego v. Twomey, 404 U.S. 477, 489 (1972).

                                  25          The due process voluntariness test bears a striking resemblance to that for compulsion

                                  26   under the Fifth Amendment, discussed herein. Compare Gamez, 301 F.3d at 1144 (“whether a

                                  27   defendant’s will was overborn by the circumstances”) (internal quotations omitted) with

                                  28   Washington, 431 U.S. at 188 (“whether, considering the totality of the circumstances, the free will
                                                                                         15
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                                   1   of the witness was overborne”). As the Court previously found, the circumstances surrounding

                                   2   SA Collins’ statement to defendant that “he was there to get the passcodes for the phones” do not

                                   3   rise to the level required to have overborne defendant’s free will. See supra, II.B.1.c. Thus, the

                                   4   Court found that defendant provided her cellphone passcode voluntarily. See id.; Gamez, 301 F.3d

                                   5   at 1144; see also United States v. Hernandez, No. 18-CR-1888-L, 2018 WL 3862017, at *3-5

                                   6   (S.D. Cal. Aug. 13, 2018) (finding that even if defendant’s “demonstration of her square pattern

                                   7   [cellphone] passcode” qualifies as testimonial for the purposes of Miranda, “the conditions

                                   8   surrounding [d]efendant’s interrogation [following her arrest at the border for drug trafficking] do

                                   9   not demonstrate the kind of psychological or physical duress needed to show involuntariness”).

                                  10   Accordingly, the government may use, for impeachment purposes only, defendant’s statement of

                                  11   her passcode, the search of her cellphone, and the evidence resulting from that search. See

                                  12   Oregon, 470 U.S. at 298.
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                                  13              C. The Sixth Amendment

                                  14          The Sixth Amendment guarantees that “in all criminal prosecutions, the accused shall

                                  15   enjoy the right . . . to have the Assistance of Counsel for his defense.” U.S. Const. amend. VI.

                                  16   The right to counsel attaches when the “government . . . use[s] the judicial machinery to signal a

                                  17   commitment to prosecute” such that the “suspect” becomes the “accused.” Rothgery v. Gillespie

                                  18   County, 554 U.S. 191, 211 (2008). Suspects are thus entitled to the help of an attorney once the

                                  19   government has initiated formal proceedings, “whether by way of formal charge, preliminary

                                  20   hearing, indictment, information, or arraignment.” Brewer v. Williams, 430 U.S. 387, 415 (1977).

                                  21          Defendant’s Sixth Amendment right to counsel attached once the government initiated

                                  22   formal proceedings against her by way of criminal complaint on April 9, 2018. See Dkt. No. 1;

                                  23   see also Brewer, 430 U.S. at 415 (noting that a “formal charge” triggers Sixth Amendment

                                  24   protection). Moreover, approximately an hour prior to SA Collins and SA Ptaszek visiting

                                  25   defendant in the Marshals holding cell for the purpose of obtaining passcode to her cellphone,

                                  26   defendant made her initial appearance, during which the court provisionally appointed Assistant

                                  27   Federal Public Defender Jodi Linker to represent her. See Dkt. No. 3; OIG Memo at MJM-849;

                                  28   see also Brewer, 430 U.S. at 415 (noting that a “preliminary hearing” triggers Sixth Amendment
                                                                                        16
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                                   1   Protection).

                                   2             “[O]nce adversary proceedings have commenced against an individual, he [or she] has a

                                   3   right to legal representation when the government interrogates him [or her].” Brewer, 430 U.S. at

                                   4   415. Such interrogation occurs when the government acts in a way to “deliberately elicit”

                                   5   incriminating information in the absence of counsel. Massiah v. United States, 377 U.S. 201, 204

                                   6   (1964). The government need not engage in explicit questioning to trigger Sixth Amendment

                                   7   protections—a defendant may demonstrate interrogation where law enforcement “takes some

                                   8   action . . . that was designed deliberately to elicit incriminating remarks.” See Kuhlmann v.

                                   9   Wilson , 477 U.S. 436, 459 (1986). SA Collins’ statement to defendant that “he was there to get

                                  10   the passcodes for the phones” constitutes such an action. See Brewer, 430 U.S. at 401-402

                                  11   (holding that where legal proceedings had commenced against a criminal defendant and detective

                                  12   made statements intended to obtain incriminating information, the detective violated the
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                                  13   defendant’s right to counsel). Moreover, and as noted above, defendant had unequivocally

                                  14   invoked her right to counsel in SA Collins’ presence prior to their arrival at the federal courthouse.

                                  15   See supra, III.B.2.

                                  16             Therefore, the Court finds that by approaching defendant after the initiation of formal

                                  17   proceedings, and after defendant had unequivocally invoked her right to counsel, and stating “that

                                  18   he was there to get the passcode for the phones[,]” SA Collins violated defendant’s Sixth

                                  19   Amendment right to counsel. Accordingly, the Court will suppress defendant’s statement

                                  20   regarding the passcode to her cellphone, the resulting search of her phone, and all evidence

                                  21   subsequently derived from that search.

                                  22      III.       CONCLUSION

                                  23             Thus, the Court GRANTS defendant’s motion to suppress her statement regarding the

                                  24   passcode to her cellphone, the resulting search of her phone, and all evidence subsequently derived

                                  25   from that search as obtained in violation of defendant’s Fourth and Sixth Amendment rights, as

                                  26   well as her rights under Miranda.6

                                  27
                                                 6
                                  28            The Court is unpersuaded by the government’s assertion during oral argument that law
                                       enforcement would have inevitably discovered the evidence contained on defendant’s cellphone
                                                                                     17
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                                   1          However, and as conceded by defendant at oral argument, evidence suppressed as the fruit

                                   2   of an unlawful search and seizure, in violation of Miranda and yet voluntarily provided, or in

                                   3   violation of the right to counsel, may nevertheless be used to impeach a defendant’s false trial

                                   4   testimony. See United States v. Havens, 446 U.S. 620, 627-28 (1980) (holding that the

                                   5   government may use evidence that was illegally obtained and is otherwise inadmissible in the

                                   6   government’s case-in-chief to impeach defendant’s testimony at trial); Oregon, 470 U.S. at 298

                                   7   (holding that the presumption of coercion provided by finding a violation of Miranda does not bar

                                   8   use of voluntary statements for impeachment purposes); Kansas v. Ventris, 556 U.S. 586, 594

                                   9   (2009) (reiterating holding that “tainted evidence . . . whose obtaining was constitutionally invalid

                                  10   [under the Sixth Amendment] is admissible for impeachment”). Accordingly, the government

                                  11   may use this evidence to impeach defendant’s testimony at trial should she choose to testify.

                                  12          This Order terminates Docket Number 21.
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                                  13          IT IS SO ORDERED.

                                  14

                                  15   Dated: April 25, 2019
                                                                                                YVONNE GONZALEZ ROGERS
                                  16                                                       UNITED STATES DISTRICT COURT JUDGE
                                  17

                                  18

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                                  22

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                                  24   because the cellphone itself “was seized pursuant to a valid warrant” and that the evidence is,
                                       therefore, not subject to suppression. Although the government failed to raise this issue in its
                                  25   brief, it seems that the facts of this case suggest that discovery of the contents of defendant’s
                                       cellphone, identified as evidence item SIRGM2, was not inevitable without law enforcement
                                  26   obtaining defendant’s passcode. SMPD previously seized and obtained a warrant for search of a
                                       cellphone belonging to defendant. (See SMPD Report at MJM-545; SM Warrant at MJM-561.)
                                  27   Defendant initially refused to provide the passcode for her locked iPhone, and even after she did
                                       so provide, once the forensic analyst for SMPD examined the phone, someone had “wiped” the
                                  28   device, such that law enforcement could not obtain any evidence therefrom. (Aff. in Sup. Fed.
                                       Compl. ¶ 65; SMPD Suppl. Report at MJM-5325.)
                                                                                           18
